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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO. 21-CR-20011-COOKE


   UNITED STATES OF AMERICA

   v.

   DAVID TYLER HINES,

                   Defendant.


                           PRELIMINARY ORDER OF FORFEITURE

           THIS MATTER is before the Court upon motion of the United States of America (the

  “United States”) for entry of a Preliminary Order of Forfeiture (“Motion”) against Defendant

  David Tyler Hines (the “Defendant”). The Court has considered the Motion, is otherwise advised

  in the premises, and finds as follows:

           On January 8, 2021, the United States filed an Information charging the Defendant in Count

  1 with wire fraud in violation of 18 U.S.C. § 1343, ECF No. 1. The Information also contained

  forfeiture allegations, which alleged that upon conviction of a violation of 18 U.S.C. § 1343, the

  Defendant shall forfeit any property constituting, or derived from, proceeds the defendant obtained

  directly or indirectly, as the result of such violation. See id. at 4. The Information alleged that the

  property subject to forfeiture as a result of the alleged offense includes, but is not limited to

  (collectively, the “Property”):

        i. All funds held by Bank of America formerly on deposit in account number 898077556016
           held in the name of Cash in Holdings LLC;

        ii. All funds held by Bank of America formerly on deposit in account number 898096330857
            held in the name of Unified Relocation Solutions, LLC;
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     iii. All funds held by Bank of America formerly on deposit in account number 898099756470
          held in the name of Promaster Movers, Inc.;

     iv. All funds held by Bank of America formerly on deposit in account number 898105927423
         held in the name of Unified Relocation Solutions LLC; and

     v. a 2020 Lamborghini Huracán with vin ZHWUF4ZF3LLA13255.

  See id.

            On February 10, 2021, the Court accepted the Defendant’s guilty plea to Count 1 of the

  Information. See Minute Entry, ECF No. 38; Plea Agreement ¶ 2, ECF No. 40. As part of the

  guilty plea, the Defendant agreed to the forfeiture of the Property and a forfeiture money judgment

  in the amount of $3,984,557.00. Plea Agreement ¶ 12, ECF No. 40.

            In support of the guilty plea, the Defendant executed a Factual Proffer, and the Court found

  that there was a factual basis to support the Defendant’s conviction. See Factual Proffer, ECF No.

  41. The Factual Proffer also provided a basis for the forfeiture of property. See id. at ¶7.

            According to the Defendant’s factual proffer, the Defendant applied for multiple Paycheck

  Protection Program (“PPP”) loans to Bank A on behalf of his companies (“the Companies”).

  Factual Proffer at ¶ 6, ECF No. 41. In his PPP loan applications, the Defendant made a number of

  false and fraudulent representations. Id. According to Postal Inspector Masmela’s attached

  declaration, based on those false and fraudulent representations, Bank A disbursed $3,984,557.00

  to the Companies’ accounts. Further, Inspector Masmela’s declaration also described how PPP

  loans were used to fund and/or purchase the Property.

            Based on the record in this case, the total value of the proceeds traceable to the offense of

  conviction is $3,984,557.00, which sum may be sought as a forfeiture money judgment pursuant

  to Rule 32.2 of the Federal Rules of Criminal Procedure.

            In addition, also based on the record in this case, the following specific property is directly




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  subject to forfeiture, pursuant to 18 U.S.C. § 982(a)(2)(A):

     i. All funds held by Bank of America formerly on deposit in account number 898077556016
        held in the name of Cash in Holdings LLC;

     ii. All funds held by Bank of America formerly on deposit in account number 898096330857
         held in the name of Unified Relocation Solutions, LLC;

     iii. All funds held by Bank of America formerly on deposit in account number 898099756470
          held in the name of Promaster Movers, Inc.;

     iv. All funds held by Bank of America formerly on deposit in account number 898105927423
         held in the name of Unified Relocation Solutions LLC; and

     v. a 2020 Lamborghini Huracán with vin ZHWUF4ZF3LLA13255.

         Accordingly, based on the foregoing, the evidence in the record, and for good cause shown,

  the Motion is GRANTED, and it is hereby ORDERED that:

         1.         Pursuant to 18 U.S.C. § 982(a)(2)(A) and Rule 32.2 of the Federal Rules of

  Criminal Procedure, a forfeiture money judgment in the amount of $3,984,557.00 is hereby entered

  against the Defendant.

         2.         Pursuant to18 U.S.C. § 982(a)(2)(A), the following specific property is hereby

  forfeited and vested in the United States of America:

                i.     All funds held by Bank of America formerly on deposit in account number
                       898077556016 held in the name of Cash in Holdings LLC;

               ii.     All funds held by Bank of America formerly on deposit in account number
                       898096330857 held in the name of Unified Relocation Solutions, LLC;

              iii.     All funds held by Bank of America formerly on deposit in account number
                       898099756470 held in the name of Promaster Movers, Inc.;

              iv.      All funds held by Bank of America formerly on deposit in account number
                       898105927423 held in the name of Unified Relocation Solutions LLC; and

               v.      a 2020 Lamborghini Huracán with vin ZHWUF4ZF3LLA13255.




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          3.     Any duly authorized law enforcement agency may seize and take possession of the

  forfeited property according to law.

          4.     The United States shall send and publish notice of the forfeiture in accordance with

  Rule 32.2(b)(6) of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n).

          5.     The United States is authorized to conduct any discovery that might be necessary

  to identify, locate, or dispose of forfeited property, and to resolve any third-party petition, pursuant

  to Rule 32.2(b)(3), (c)(1)(B) of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(m).

          6.     Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this Order

  is final as to the Defendant.

          7.     The Court shall retain jurisdiction in this matter for the purpose of enforcing this

  Order, and pursuant to Rule 32.2(e)(1) of the Federal Rules of Criminal Procedure, shall amend

  this Order, or enter other orders as necessary, to forfeit additional specific property when

  identified.

          It is further ORDERED that upon adjudication of all third-party interests, if any, the Court

  will enter a final order of forfeiture as to the property in which all interests will be addressed.

  Upon notice from the United States that no claims have been filed within 60 days of the first day

  of publication or within 30 days of receipt of notice, whichever is earlier, then, pursuant to Rule

  32.2(c)(2) of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(7), this Order shall

  become a Final Order of Forfeiture and any duly authorized law enforcement agency shall dispose

  of the property in accordance with applicable law.

          DONE AND ORDERED in Miami, Florida, this 1st day of March 2021.




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